                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                               1?      D      IL      i
                                       Alexandria Division                      b
                                                                                       FEB - 4 2021
                                                                                    CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA                                                               ALEXANDRIA. VIRGINIA
                                                   Case No. l:21-mj-
                        V.



MOHAMMED KHALIFA,
                                                   FILED UNDER SEAL
    a/k/a,

       Abu Ridwan Al-Kanadi
       Abu Muthanna Al-Muhajir

                        Defendant.


                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Special Agent Joshua S. Grace ofthe Federal Bureau ofInvestigation ("FBI"), being

duly sworn, hereby depose and state as follows:

   L         INTRODUCTION

                              Offense, Background,and Summary

       1.      I make this affidavit in support of a criminal complaint charging MOHAMMED

KHALIFA("KHALIFA"), who is expected to be first brought to and found in the Eastern

District of Virginia, with conspiring to provide material support to a foreign terrorist

organization, namely the Islamic State ofIraq and al-Sham ("ISIS"), resulting in death, knovdng

that the organization was a designated terrorist organization, and knowing that the organization

had engaged in and was engaging in terrorist activity, all in violation of Title 18, United States

Code,2339B.
       2.      I have been a Special Agent with the FBI since August 2016.1 am assigned to an

extraterritorial counterterrorism squad ofthe FBI's Washington Field Office("WFO"). As part

of my assignment, and as part of my continuing education, I have successfully completed

national security focused training, to include formal courses and training exercises. I have also

read and studied numerous publications related to historical and current terrorism topics authored

by analysts, investigators, and in some cases, actual members or supporters of designated foreign

terrorist organizations. Additionally, from September 2010 until August 2016,1 served as an

Intelligence Analyst with the Counterterrorism Division ofthe FBI. I am an investigative or law

enforcement officer ofthe United States, within the meaning of Title 18 United States Code,

Section 2510(7)and am empowered by law to conduct investigations of, and make arrests for,

offenses enumerated in Title 18, United States Code, Section 2516.

       3.      This affidavit is being submitted for the limited purpose of obtaining a criminal

complaint and does not include each and every fact observed by me or known to the government.

I have set forth only those facts necessary to support a finding of probable cause.

       4.      KHALIFA is a Canadian citizen who served in important roles within ISIS from

2013 and continuing until his capture by the Syrian Democratic Forces("SDF")in January 2019

following a flrefight between ISIS fighters and the SDF. Beyond serving as an admitted ISIS

fighter, KHALIFA notoriously served as the English-speaking narrator on two influential and

exceedingly violent ISIS propaganda videos:"Flames of War: Fighting Has Just Begun"

(distributed September 19, 2014) and "Flames of War II: Until the Final Hour"(distributed

November 29, 2017).
   II.        PROBABLE CAUSE


                                       Background on ISIS

         5.     On or about October 15, 2004,the U.S. Secretary of State designated al-Qaeda in

Iraq ("AQI"),then known as Jam 'at al Tawhid wa'al-Jihad, as a Foreign Terrorist Organization

("FTO")under Section 219 ofthe Immigration and Nationality Act("INA")and as a Specially

Designated Global Terrorist("SDGT")entity under section 1(b)of Executive Order 13224. On

or about May 15, 2014,the Secretary of State amended the designation of AQI as an FTO and

SDGT by adding the alias Islamic State ofIraq and the Levant("ISIL") as its primary name. The

Secretary also added the following aliases to the FTO listing: the Islamic State ofIraq and al-

Sham (i.e."ISIS"—^which is how the FTO will be referenced herein), the Islamic State ofIraq

and Syria, ad-Dawla al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh,Dawla al Islamiya, and Al-

Furqan Establishment for Media Production ("al-Furqan"). On or about September 21,2015,the

Secretary added the following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date,

ISIS remains a designated FTO. On or about March 21,2019,the Department of State amended

the terrorist designation ofISIS to include Al Hayat Media Center (hereafter "al-Hayat) and

Amaq News Agency("Amaq").

         6.     ISIS and its leadership have been clear about the terrorist organization's purposes:

the violent creation of a religiously conceived "Islamic State" without regard to the lawful

sovereignty of any nation-state, nor any regard for the human rights ofthe citizens ofthose

sovereign territories. ISIS has targeted citizens ofthe United States and other Western countries

with extreme acts of violence, including murder, and has solicited and encouraged others to join

them in doing so, in order to intimidate, coerce, and retaliate against the governments and

civilian populations ofthose countries in furtherance ofISIS's objectives.

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       7.      Since 2013,ISIS has claimed credit for numerous terrorist activities, including

seizing Mosul, a city in northern Iraq; launching rocket attacks on eastern Lebanon in March

2014; the November 2015 terrorist attacks in Paris, France; and the March 2016 suicide

bombings in Brussels, Belgium, among many others. ISIS has also claimed responsibility for

murdering, by beheading, civilians and non-combatants from the United States, Great Britain,

and Japan, among others, and has murdered dozens of people at a time, carried out public

executions, and committed other brutal terrorist acts.

       8.      ISIS's leadership sought to accomplish its criminal goals, in part, by recruiting

and accepting new members from across the globe to assist with its efforts to expand its so-called

"Caliphate" in Iraq, Syria, and other locations in Africa and the Middle East. "Caliphate" was a

term used to refer to ISIS's self-proclaimed system ofreligious governance, with Abu Bakr al-

Baghdadi serving as the "Caliphate's" self-proclaimed leader until his death. Abu Muhammad

al-Adnani, who was a leading commander ofISIS and served as its chief media spokesman prior

to his death in a military airstrike in 2016,announced the establishment ofthe so-called Islamic

State "Caliphate" on or about June 29,2014, in an audio recording ("This is the Promise of

Allah") distributed by the ISIS media operation.

       9.      ISIS distributed lengthy leadership statements and other violent propaganda

through a central media bureau, or the "Diwan of Central Media." KHALIFA worked within

ISIS's central media bureau beginning in April 2014. ISIS created this sophisticated and

coordinated media operation to advance its terrorist and propaganda goals. This central media

operation had several components, but operated primarily through the al-Furqan Foundation for

Media Production ("al-Furqan") and the al-Hayat Media Center("al-Hayat"). Al-Furqan and al-

Hayat were responsible for creating and distributing the most violent ISIS media, including the

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graphic killings of U.S. citizens and others. The ISIS leadership clearly expressed its goals,

purposes, and objectives through the media bureau, and the ISIS fighters demonstrated a unity of

purpose with the organization by promoting and committing violent acts, including murder.

       10.      KHALIFA was an important and essential member ofISIS's "Diwan of Central

Media" because of his fluency with both English and Arabic languages and his commitment to

the ISIS cause and the effort to promote violent acts against the west. KHALIFA swore a

fighting oath (Bay'at Al-Qital in Arabic)to Abu Bakr al-Baghdadi in November 2013 after his

arrival in Syria. KHALIFA joined the ISIS media bureau in April 2014. KHALIFA swore

allegiance to Abu Bakr Al-Baghdadi again in Jxme 2014 when ISIS announced its worldwide

Caliphate. Beginning in August 2014,the ISIS media bureau and KHALIFA began a prolonged

media campaign promoting horrific violence committed against U.S. citizens and other western

citizens in order to incite violence, including murder, against the United States and the West.

       11.      The terrorist conduct, purposes, goals, unity, and brutality ofISIS and its media

bureau was particularly conspicuous between August 2014 to January 2015:

             a) On or about August 19, 2014, al-Furqan released "A Message to America," a

                video depicting ISIS fighter Mohammad Emwazi("Emwazi")^ beheading

                American citizen and hostage James Wright Foley.

             b) On or about September 2,2014, al-Furqan released "A Second Message to

                America," a video depicting Emwazi beheading American citizen and hostage

                Steven Joel Sotloff.




      'Emwazi was killed in a United States military airstrike conducted on or about
November 12, 2015,in Syria.

                                                 5
c) On or about September 10,2014, al-Hayat released "A Call to Hijrah," an issue of

   the ISIS's online magazine Dabiq depicting a photograph of James Wright

   Foley's murder and related admissions concerning his murder.

d) On or about September 13,2014, al-Furqan released "A Message to the Allies of

   America," a video depicting Emwazi beheading British citizen and hostage David

   Haines.


e) On or about September 19,2014, al-Hayat released "Flames of War: Fighting Has

   Just Begun," a 55:13 minute violent call to arms narrated by KHALIFA.

f) On or about September 21,2014, al-Furqan released "Indeed, Your Lord is Ever

   Watchful," an audio recording in which ISIS spokesman al-Adnani threatened

   America by stating, among other things, the following:

       i. "We will conquer your Rome,break your crosses, and enslave your

           women, by the permission of Allah, the Exalted."

       ii. "If you can kill a disbelieving American or European ... or an Australian,

           or a Canadian, or any other disbeliever from the disbelievers waging war,

          ... then rely upon Allah, and kill him in any manner or way however it

           may be. Do not ask for anyone's advice and do not seek anyone's verdict.

           Kill the disbeliever whether he is civilian or military, for they have the

          same ruling."

g) On or about October 3, 2014, al-Furqan released "A Message to the Allies of

   America," a video depicting Emwazi beheading British citizen and hostage Alan

   Henning.
             h) On or about November 16,2014, al-Furqan released "Although the Disbelievers

                Dislike It," an exceedingly violent 15:53 video depicting Emwazi standing over a

                murdered Peter Edward Kassig, a U.S. citizen.

             i) On or about January 24, 2015, al-Furqan released a video of Japanese hostage

                Kenji Goto holding a picture of Japanese citizen Haruna Yukawa's decapitated

                body.

          j) On or about January 31,2015, al-Furqan released a video("A Message to the

                Government of Japan") depicting Emwazi beheading Japanese citizen Kenji Goto,

             k) On or about February 6, 2015,ISIS released two announcements concerning the

                death of American Hostage Kayla Jean Mueller in ISIS custody. One

                announcement was by "Nashir," an Islamic State media brand, and the other was

                through the Islamic State's"Amaq News Agency."^

       12.      The defendant and others engaged in a conspiracy to provide material support,

including personnel(themselves and others) and services,to ISIS. Members ofthe charged

conspiracy performed a nximber offunctions, including serving as fighters in military battles to

seize or maintain control ofland in Iraq and Syria; taking by force and holding hostages for



^ As set forth in paragraphs 43 and 45 below, KHALIFA's oversight and guidance facilitated the
translation and distribution ofISIS-produced propaganda, released under various ISIS media
brands such as "Nashir" and "Amaq News Agency," in order to reach Western audiences.
KHALIFA admitted to FBI agents that he used an account(ACCOUNT1) on PLATFORM 1 to
coordinate the production and dissemination of Nashir and Amaq releases with the assistance of
the supporter networks.
ransom; executing prisoners and hostages; participating in the ISIS media operations(that

created propaganda that reported on and glorified the terrorist attacks and killings committed by

co-conspirators and issued threats offuture attacks); and recruiting new members and co-

conspirators to join ISIS on the battlefield or to commit terrorist attacks in their home countries,

among other functions. The charged conspiracy resulted in the deaths ofindividuals on the

battlefield, prisoners and hostages who were executed, and the victims of other ISIS terrorist

attacks. As a member ofthe charged conspiracy to provide material support to ISIS, KHALIFA

served as a fighter and also as a prominent figure within the ISIS media bureau (i.e., the

aforementioned "Diwan of Central Media")from 2014 to 2018, including, among others, the al-

Furqan and al-Hayat elements ofthe media operation.

                The Defendant and an Overview of His Involvement with ISIS

        13.    KHALIFA was bom on or about July 10, 1983,in Saudi Arabia and is a Canadian

citizen. KHALIFA traveled to Syria in 2013 with the intent of becoming a foreign fighter, and

ultimately joined ISIS, became a prominent figure in the production ofISIS propaganda and

media, and also served as an ISIS fighter before his capture in January 2019. While a member of

ISIS, KHALIFA was known as Abu Ridwan al-Kanadi and Abu Muthanna al-Muhajir.

KHALIFA referred to himself as Mohammed Abdullah Mohammed following his capture in

Syria in January 2019.

        14.    Pursuant to a court authorized search warrant for KHALIFA's electronic mail

account, I have reviewed communications sent by KHALIFA. On or about August 14, 2013,

KHALIFA delivered a message to a close relative, in which he states the following, in part,"I

told you ... that I'd be going to eypt(sic) but the truth is im in Syria. I came here to join the

mujahideen fighting against Bashar and the Syrian army." KHALIFA further explained in this

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email,"[I]n response, a number of prominent shaikhs from around the world held a conference in

Cairo where they declared jihad and called on all Muslims to respond."^

       15.     On or about October 9,2013, KHALIFA sent an email to a close relative, in

which he states the following, in part,"I came here to fightjihad notjust to defend Syrians, but

because it's an obligation to fight the tyrants, remove them from power and establish the Shariah,

all with the aim of re-establishing the Islamic caliphate. Jihad is the pinnacle ofIslam, and there

are many hadeeth to that effect, so there's nothing more honourable than serving Islam through

it. ..." KHALIFA finished this email by attaching a link to a lecture by "Shaikh" Anwar Al-

Awlaki."^

       16.     Soon after his arrival in Syria, KHALIFA became an influential English-speaking

member ofISIS. At various points, KHALIFA has made claims to Western media outlets that he

was a simple translator and rank and file member ofISIS's media establishment. However,FBI

investigation has determined KHALIFA played an important role in the production and

dissemination of ISIS propaganda across multiple mediums targeting western audiences. This


^ Mujahideen is the plural form of mujahid, the Arabic term for one engaged in jihad.
Mujahideen and jihadists can be used interchangeably and these terms are sometimes interpreted
as "holy warriors." Jihad literally means striving or struggling, but the modem radicalized
meaning refers to fighting or waging war by terrorist groups such as ISIS against disbelievers
and perceived enemies ofIslam. KHALIFA's reference to "shaikhs"(sic) declaring jihad is an
early demonstration of his knowledge and intent to join the terrorist organization.

^ Anwar al-Awlaki was a key leader of al-Qa'ida in the Arabian Peninsula(AQAP),a designated
foreign terrorist organization. He was the primary driver behind "Inspire" magazine, the English
language propaganda magazine released by AQAP. Al-Awlaki used the Intemet to post sermons
and blog entries in which he justified conducting violentjihad against the United States, United
States citizens, and United States military personnel, and attempted to radicalize and recmit
followers to engage in violent jihad. On or about September 30,2011, al-Awlaki was killed in
Yemen.
support culminated in KHALIFA leading ISIS's English Media Section. A primary focus of

much of KHALIFA'S propaganda production was aimed at enticing ISIS supporters to travel to

ISIS-controlled areas to join ISIS and/or to conduct attacks in the West,including in the United

States, on ISIS's behalf. KHALIFA was also an active participant in armed hostilities on behalf

ofISIS. Just prior to his capture by the Syrian Democratic Forces (hereafter "SDF")in January

2019,KHALIFA engaged in armed conflict on behalf ofISIS, including throwing grenades

against his combatants.

                                   KHALIFA'S Path to ISIS


       17.     On or about March 25,2019 during a Mirandized, custodial interview, KHALIFA

told FBI agents that in the Spring of 2013, he followed events in Syria and was motivated to

travel there after watching videos ofthe Syrian regime. KHALIFA listened to videos of Anwar

al-Awlaqi's lectures, which also motivated him to travel to Syria. KHALIFA decided to travel to

Syria in the summer of2013. KHALIFA's statements are corroborated by an August 14, 2013,

email KHALIFA sent to a person close to him from his unique electronic mail address.

KHALIFA admitted to the FBI that this unique email address was,in fact, used by him.

        18.    In an interview with the Canadian Broadcasting Company("CBC")conducted in

late 2019,KHALIFA admitted to leaving Canada in or around August 2013 with the intention of

fighting in Syria. KHALIFA told his mother he was moving to Egypt and did not disclose his

intention to travel to Syria to anyone. He said,"I figured that ifthey knew that I was going to go

and fight in Syria they'd try to stop me." KHALIFA said,"I had a normal life back in Canada. I

was doing very well for myself and I decided to give it up knowing where I was coming,

knowing what I was sacrificing in the process." Again, these 2019 statements to the CBC are

confirmed by the August 14, 2013, email sent by KHALIFA upon his departure from Canada.

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       19.     KHALIFA told FBI agents that in approximately August 2013, he purchased an

airline ticket from Toronto, Canada,to Istanbul, Turkey. A review of KHALIFA's unique

electronic mail address confirms KHALIFA's flight reservations departing from Toronto,

Canada on or about August 3, 2013 with a final destination of Hatay, Turkey, near the Syrian

border, arriving on or about August 4,2013. Upon arriving in Turkey, KHALIFA traveled from

Istanbul to Hatay, Turkey and paid a smuggler to take him to Syria. In a video statement released

on the "SDF Press" YouTube page published on or about January 16, 2019, KHALIFA stated

that he traveled from Turkey into Idlib, Syria and then joined the Muhajireen Al-Ansar

Battalion^ (hereafter"MAA")which then gave Bay'ah (i.e., pledged allegiance)to ISIS. At the

time, MAA was led by Abu Umar al-Shishani.^

       20.     KHALIFA admitted that while a member of MAA,he was located in the Aleppo

(Syria) countryside. KHALIFA received military training from MAA which included how to

crawl and move with a weapon. At the end of2013, KHALIFA participated in fighting against

the Syrian regime in a village in Tal Hasil in the Aleppo countryside. KHALIFA swore

allegiance to ISIS leader Abu Bakr al-Baghdadi(hereafter "al-Baghdadi") and joined ISIS in or

around November 2013. KHALIFA said that he swore allegiance to al-Baghdadi and ISIS again

in or around June 2014, when the worldwide caliphate was announced.




^ Muhajireen Al-Ansar Battalion AKA Jaish al-Muhajireen wal-Ansar is a Salifistjihadist group
consisting offoreign fighters, primarily from the Caucasus region,that was briefly affiliated with
ISIS in 2013. It was designated as an FTO by the U.S. State Department on September 24,2014.

^ Abu Umar Al-Shishani was a Georgian national and former member ofthe Georgian military who
would later become the ISIS Minister of War imder now-deceased ISIS leader Abu Bakr Al-
Baghdadi.

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       21.     KHALIFA further admitted that upon joining ISIS in late 2013, he expected to be

sent to an ISIS training camp. However, he was never sent. KHALIFA admitted he later

purchased an AK-47 in Syria. KHALIFA admitted that, in early 2014, he was recruited to join

ISIS's media department due in part to his linguistic capabilities as a fluent English and Arabic

speaker. As discussed below, KHALIFA'sjourney to Raqqah, Syria and his eventual

appointment to ISIS's Media Bureau in or around April 2014, marks the beginning of an almost

five-year period during which KHALIFA would become a leading figure in ISIS's English-

language propaganda creation and distribution operations.

       22.     As stated above, ISIS maintained centralized media production under a single

command structure consisting of various media centers. This central command structure, under

which the various media centers operate, is generally referred to as the "Central Media Bureau"

or the "Diwan of Media." As part ofthe ISIS media operation, KHALIFA was involved with,

among other elements, al-Furqan and al-Hayat. Although he did not admit or otherwise refer to

the aforementioned hostage execution videos that were released by al-Furqan, KHALIFA

admitted to FBI agents his involvement in the production of videos and media products released

by al-Furqan. KHALIFA also admitted to FBI agents to being involved in al-Hayat, specifically

the "Flames of War" videos described in greater detail below. Al-Hayat also produced and

distributed Dabiq,ISIS's online magazine.

       23.     KHALIFA told FBI agents that during his time working in the ISIS media

operation, he narrated a video, which KHALIFA referred to as "Diwawin." Your affiant is

aware that in or around July 2016,ISIS sought to publicly explain its internal organizational

structure to its members and supporters in a video titled "The Structure ofthe Khilafah." That

video("The Structure of the KJiilafah") is the video that KHALIFA referred to as the "Diwawin"

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video."The Structure of the Khilafah" provided detailed information and visual graphics of

ISIS's internal organization, explaining how ISIS divided responsibility and governed its

territory. In the video, KHALIFA described the structure of ISIS having thirty-five "wilayat,"^
nineteen of which were in Iraq and Syria and sixteen of which were located outside Iraq and

Syria. In the video, KHALIFA also details ISIS' media apparatus, noting its centralized

framework. Additionally, KHALIFA described ISIS as having fourteen "dawawin,"^ one of

which is the "Diwan of Media" or Central Media Bureau. KHALIFA described the Central

Media Bureau as "the body responsible for any content released by the Islamic State, whether

that content is audio, visual or written." The video portrays a graphic depicting the various

brands ofthe "Diwan of Media" to include: al-Furqan, al-Hayat, Ajnad,^ Bayan Broadcasting,'®

al-Himmah'' and al-Naba.

                              KHALIFA Discusses ISIS Violence


       24.     In a series of Gmail chats on September 24, 2014, 22 and 35 days, respectively,

after the release ofthe ISIS videos depicting the murders of American joumalist James Wright

Foley and Steven Joel Sotloff, and approximately 53 days prior to the release ofthe Peter

Edward Kassig murder video and four months prior to the release ofthe execution videos of



^ Wilayat is the Arabic word for states.

^ Dawawin is the Arabic plural for diwan which means administrative office.

^ Ajnad is ISIS's media brand responsible for releasing nasheeds.

  Bayan Broadcasting, al-Bayan Radio, is an ISIS media brand responsible for releasing daily
audio newscasts in multiple languages.

"Al-Himmah is an ISIS media brand for releasing products concerning ISIS governance
matters.


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Japanese citizens Hanma Yukawa and Kenji Goto, and in response to being asked how he

(KHALIFA)could justify beheadings and executions(conducted by ISIS) ofindividuals

including but not limited to aid workers,journalists, prisoners of war, and westerners, KHALIFA

wrote:


               Kafir journalists have no covenant. Without a covenant ur blood is halal.^"* Being a
               civilian orjoumo or aid worker means nothing in the shariah. A kafir is a kafir. 2.
               FSA ive already explained. 3. Prisoners of war that are kuffar can be dealth (sic) with
               in three ways per the quran.... free them,ransom them, or execute them.

         25.      In another Gmail chat on September 24,2014, KHALIFA chastised the Free

Syrian army for working with America.

         26.      In the same series of September 24,2014, Gmail chats, KHALIFA stated,"as far

as killing amd (sic)takfeer*^ goes, we don't shy away from making takfeer ofthose who deserve

it..." as part of a dialogue concerning ISlS committing executions.




           khalifa's "free them,ransom them, or execute them" statement was made 11 days
after the execution of British citizen David Haines, and nine days prior to the execution of Alan
Henning. In addition, he made this statement after several western hostages had been ransomed
in the March - June 2014 period. The "free them, ransom them, or execute them" statement
demonstrates KHALlFA's knowledge ofthe ISlS western hostage taking scheme's objectives,
purposes and scope.

           Kafir is a term used to denote someone who is deemed a disbeliever ofIslam.

           Halal is a term used to denote something that is permissible under or sanctioned by
Islamic law.

  "Takfeer" is likely a reference to the concept oftakfir in Islam which is the action or practice
of declaring that a fellow Muslim is guilty of apostasy and therefore is no longer Muslim.

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                                        Al-Hayat Media Center

       27.     Al-Hayat is ISIS's multilingual media brand used in part for recruitment by

delivering ISIS propaganda in languages other than Arabic. Al-Hayat is responsible for official

non-Arabic language translations carried out by ISIS as well as the production ofnon-Arabic

magazines including Dabiq'^ and Rumiyah.^^ Products by al-Hayat include audio statements,

online magazines, and videos featuring among other topics ISIS attacks, beheadings, suicide

bombings, and foreign fighters. Additionally, al-Hayat demonstrated prior knowledge of and

promoted the November 2015 ISIS terrorist attacks in Paris, France. The Paris attacks are just

one example of al-Hayat's connections to ISIS external attack plotting.

       28.     Al-Hayat's use of high-resolution video and professional video editing techniques

helped propel ISIS to the forefront of extremist propaganda production and dissemination. ISIS

propaganda produced by al-Hayat resonated with ISIS supporters around the globe and

motivated many supporters to either travel to join ISIS or conduct attacks on its behalf. Al-Hayat

tailored many of its propaganda releases to appeal to Western, English speaking audiences.

High-definition battle sequences coupled with English-language narrations provided a western

audience an optic into both daily life within the Islamic State and a first person view ofISIS

fighters in battle. The al-Hayat videos titled "Flames of War: Fighting Has Just Begun" and

"Flames of War II: Until the Final Hour," both narrated by KHALIFA,are two ofthe most

influential terrorist videos produced and disseminated by ISIS.



  Dabiq was an online magazine produced by ISIS's al-Hayat Media Center that was used by
ISIS for radicalization and'recruitment purposes.

  Rumiyah was an online magazine produced by ISIS's sd-Hayat Media Center after Dabiq was
discontinued. Rumiyah was used for propaganda and recruitment purposes.

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       29.     KHALIFA admitted to FBI agents that he narrated and provided translations for

al-Hayat videos "Flames of War" and "Flames of War 2." Further, KHALIFA admitted to

assisting in the translation and narration of approximately 15 ISIS videos including but not

limited to "The Return ofthe Gold Dinar," which was produced by al-Hayat, videos ofthe

"Inside the Khalifah" series, which were also produced by al-Hayat, and unidentified videos and

propaganda produced and released by al-Furqan and al-Hayat.

                          "Flames of War: Fighting Has Just Begun"

       30.     On or about September 19,2014, al-Hayat released a 55 minute and 13 second

video titled "Flames of War: Fighting Has Just Begun." KHALIFA admitted to the FBI on

March 25, 2019,that he was the narrator ofthis video. The video opens with the al-Hayat logo,

which says al-Hayat written in Arabic, and the words "A1 Hayat Media Center" written below it

in English. The video, narrated throughout by KHALIFA,is a documentary-style production

portraying battle scenes ofISIS members conducting attacks in Syria in or around mid-2014. The

video glamorizes ISIS and lauds its fighters, speaking ofthem with admiration and awe. The

production ofthe video presents the ISIS fighters as fearless and their enemies as cowards. In the

video,the narrator threatens the United States by saying "Finally, this is a message we direct to

America. Know,O defender of the cross, that a proxy war won't help you in Sham just as it

didn't help you in Iraq. As for the near future, you will be forced into direct confrontation, with

Allah's permission, despite your reluctance. And the sons ofIslam have prepared themselves for

this day, so wait and see, for we too are also going to wait and see."

       31.     A primary focus ofthe video is ISIS's capture ofthe Syrian Arab Army(SAA)

Division 17 base in or around July 2014. The final sequence ofthe video depicts what appear to

be captured Syrian soldiers from the Division 17 base digging a trench under an ISIS flag. As

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opposed to earlier in the video in which an un-shown English speaker narrates over the video,

this final sequence is narrated by a shown, masked ISIS member(EXECUTIONERl)who first

appears standing over the trench while men in civilian clothing are digging below him.

EXECUTIONER! describes to the camera the men below him as "soldiers of Bashar," a

reference to SAA soldiers and Syrian President Bashar al-Assad, who are "digging their own

graves." Based on a review ofthese final scenes, I observed EXECUTIONER! brief!y stumble

on his words while saying "Alhamdulillah the hukm'® of Allah is going to be carried out on these

same soldiers by the brothers from the Muhajireen^^ and Ansar^® that captured them."

       32.     The final scene ofthe sequence depicts EXECUTIONERl and other masked ISIS

members standing behind the SAA soldiers, who are kneeling in a row at the edge ofthe trench

they dug earlier in the video. EXECUTIONER! speaks to the camera and says,"they said that

we abandoned the fronts and stopped fighting the kuffar to turn our guns towards the Muslims.

They lied! Wallahi,^' we are the harshest towards the kuffar and the flames of war are only

beginning to intensify. Wallahi, the fighting has just begun."

       33.     EXECUTIONERl then turns and shoots a kneeling prisoner in the back of the

head, while the other masked ISIS members follow suit and shoot the prisoners kneeling in front

ofeach ofthem in the back of the head. These prisoners then fall forward into the trench where

they remain motionless. The camera pauses to focus on the deceased prisoners. Based on my



  Hukm is the Arabic world for ruling.

  Muhajireen is the Arabic word meaning emigrants.

  Ansar is the Arabic word meaning adherents or followers.

  Wallahi is Arabic meaning "By Allah".

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knowledge and experience I know that"Flames of War" became a touchstone for(ISIS) recruits

from Australia, Britain, and North America.

       34.       A detailed review of this final sequence revealed multiple camera tripods visible

in the background. This coupled with the multiple camera angles featured throughout highlight

that this execution sequence was primarily a choreographed media production designed to send a

message to both ISIS supporters abroad and the governments that opposed ISIS including the

United States.

                            "Flames of War II: Until the Final Hour"

       35.       On or about November 29,2017, al-Hayat released an approximately 58 minute

and 8 second video titled "Flames of War II: Until the Final Hour." KHALIFA admitted to the

FBI on March 25,2019,that he was the narrator ofthis video. The video opens with the al-Hayat

Media Center logo, which says al-Hayat written in Arabic, and the words "A1 Hayat Media

Center" written below it in English. The video, narrated throughout by KHALIFA,opens with

scenes of war including bombings and destruction juxtaposed with statements made by

Presidents Barak Obama and Donald Trump. KHALIFA states in the narration,"They [the US-

led coalition] failed. Terror, its fuel is war. As the ravenous flames continue to rise making their

way to the lands ofthe crusaders." During this narration, the video depicts scenes ofISIS attacks

in the West. Additionally, the video depicts a map ofthe United States with what appear to be

fire flames reigning down on it. Five areas are identified on the map: San Bernardino, California;

Las Vegas, Nevada; Texas; Orlando, Florida; and New York, New York. These locations all

experienced acts ofterrorism that were later claimed by ISIS. Based on my training and

experience, I believe ISIS wants the viewer to know that ISIS was responsible for these attacks

in the United States and that the United States Government cannot protect its citizens.

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       36.      Furthermore, KHALIFA glorifies death on this video by stating "And as Allah

continued to alternate the outcomes of battles, the creed ofthe victorious group remained

constant. They [ISIS fighters] would not seek to live to fight another day. Rather, they fought to

kill and to be killed. For it is through death that this young Khilafah lives. Through death it

remains forever victorious until the final hour." This narration is juxtaposed with scenes of

fighting and violence. The video threatens the United States when an Arabic speaking individual,

whom the video indicates is now-deceased ISIS spokesman Shaykh Abul-Hasan al-Muhajir, says

in Arabic "so die in your rage America, die in your rage."

       37.     The video depicts ISIS attacks and fighting in what is described as Tadmur, Syria

and Sinai, Egypt and glorifies death. In one scene, an English-speaking fighter who entered

Tadmur addresses the camera and states"We came here to take over this place, inshallah, and

put the Shariah, and implement the Shariah. After we go and we take the neck off of Assad, we

will take the neck off of Trump,inshallah, and we will put the flag of Dawatul Islamiyya,the

words of Allah the highest, in the White House, inshallah."

       38.     KHALIFA glorifies ISIS fighters by seeking to draw a parallel between ISIS

fighters and their efforts and traditional prophets ofIslam by stating: "Victory here is for the

believers. And therein lies the brutal reality ofthe path to victory and the establishment of

Allah's rule on the earth. It is a path covered with blood and scattered limbs, and filled with

exhaustion, in a contentious war between iman [faith] and kuff [disbelief] that swings back and

forth. The Messengers were likewise afflicted and the final outcome was theirs. But it is this

brutal reality and imchanging Sunnah [tradition] of Allah that the soldiers ofthe Khilafah have

come to understand and accept." KHALIFA states: "But look not at their numbers,look not at

their makeshift armor or simple weaponry,look not at the attire ofthese barefoot unarmored

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men,for this is not what makes them superior, it is from what comes within: iman. So expect not

the mushrikeen [polytheists] outdo the believers in patience, they simply cannot be compared,

for the soldiers ofthe Khilafah are the grandsons of conquerors." KHALIFA states:"And

through their words and deeds they live the example oftheir righteous predecessors. And neither

America's proxies nor their weaponry will benefit them against the soldiers ofthe Islamic State,

for Allah has already revealed in His Book that it is His soldiers that will prevail."

       39.     The video portrays ISIS members cutting the throats of and decapitating

uniformed men who are kneeling in a line as well as setting a man, who appears to be a prisoner,

on fire killing him. KHALIFA says,"Never would the believers [ISIS] lay down their swords for

even a minute, they will remain until the final hour."

       40.     The last scene ofthe video depicts an English-speaking masked ISIS member

speaking to the camera while standing over what appear to be captured Syrian soldiers digging a

hole over which flies an ISIS flag. The masked ISIS member then turns and shoots a kneeling

prisoner in the back ofthe head, while other masked ISIS members follow suit and shoot the

prisoners kneeling in front ofeach ofthem in the back ofthe head. These prisoners then fall

forward into the trench where they remain motionless.

                                   "Inside the Khilafah" Series


        41.    In addition to the two "Flames of War" videos referenced above, al-Hayat

produced and disseminated a host of other English-language videos including a series titled

"Inside the Khilafah" between July 28,2017 and October 30, 2018. Over the course of eight

"Inside the Khilafah" videos, al-Hayat attempted to depict various aspects of daily life within the

Islamic State and featured ISIS members encouraging potential recruits to join ISIS and conduct

terrorist attacks against non-Muslims. KHALIFA admitted to FBI agents that he narrated and

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provided translations for approximately 15 ISIS videos, which included the "Inside the Khilafah"
series.

          42.   The eighth video ofthe "Inside the Khilafah" series was released by al-Hayat on

or about October 30, 2018. The video was approximately 16 minute and 25 seconds and titled

"Inside 8: Inside the Khilafah." The video depicts scenes of ISIS fighters in battle as well as

individuals who appear to be living under ISIS control performing daily job functions other than

fighting. KHALIFAH,the narrator of captioned video, asks listeners "where are you, oh

muwahhid."^^ KHALIFA then says,"if you are unable to make hijrah to the khilafah to support

your religion and fight on the front lines, then terrorize the disbelievers with your jihad outside

the khilafah by targeting them and shedding their blood." The video then shows footage ofISIS

attacks in Europe including attacks in Paris, France; Brussels, Belgium; and Nice, France. The

video plays a voice recording of Omar Mateen declaring his allegiance to ISIS during the June

12, 2016 Pulse Nightclub attack in Orlando, Florida. KHALIFA continues by saying "and ifthat

is impossible then support your khilafah on the digital front" and describes operational security

measures ISIS members should follow. KHALIFA says "continue your jihad to expose the

antagonists and disbelievers and to incite the pious muminin.^^ Strive patiently in the digital

arena and do not allow the disbelievers to enjoy a moment of sleep or to live a pleasant life....

terrorize them, fill them with fear, ignite the fires of conflict, and create a climate of anxiety and

distress on every one oftheir platforms."




  Muwahhid is the Arabic word for monotheist.

  Muminin is the Arabic word for believers.

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       43.     In addition to serving as a translator and narrator for al-Hayat and al-Furqan, the

investigation revealed that KHALIFA also oversaw the translation of official ISIS media content

and provided general oversight as well as instruction to ISIS supporters on behalf ofISIS's

Central Media Bureau. As background, your affiant is aware that due to the amount of content

that was released by ISIS from 2016 onward, coupled with military strikes that reduced the ranks

ofISIS's Central Media Bureau,ISIS media leaders such as KHALIFA relied heavily on various

supporter networks for propaganda production and dissemination. These supporter networks

were groups ofindividuals who provided support to ISIS but were not necessarily geographically

located in Syria or Iraq. These supporters would assist in the translation of official ISIS media

publications into various languages, including, but not limited to, English. KHALIFA's oversight

and guidance facilitated the translation and distribution ofISIS-produced propaganda, released

under various ISIS media brands such as "Nashir" and "Amaq News Agency," in order to reach

Western audiences.


       44.     An FBI Online Covert Employee(OCEl)witnessed KHALIFA's above

referenced online activities spearheading ISIS's translation efforts through the use of online

supporters. Coordination between ISIS's Central Media Bureau and the supporter networks was

done through encrypted platforms including, but not limited to, ENCRYPTED MESSAGING

PLATFORM(PLATFORM 1), an encrypted mobile messaging platform popular with extremists

due to its anonymity and security.

       45.     KHALIFA admitted to FBI agents that he used an account(ACCOUNT!)on

PLATFORM 1 to coordinate the production and dissemination ofNashir and Amaq releases with

the assistance ofthe supporter networks. OCEl observed KHALIFA correct errors in translations

as well as the formatting of statements. OCEl observed KHALIFA correcting language that was

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used in the translations by the supporters, even in one instance stating,"We don't use [specific

words] when it comes to Amaq," and telling the supporters to use other language that ISIS

approved instead. KHALIFA took these translations and inserted them into ISIS news release

templates that were closely guarded by ISIS's Central Media Bureau. KHALIFA admitted to FBI

agents that he in fact used ACCOUNT1 from on or about December 2017 through on or about

January 13,2019, when he was captured by the SDF.

                                     KHALIFA'S Capture

       46.     In late 2018 or early 2019, KHALIFA fought against the SDF on behalf ofISIS.

KHALIFA told FBI agents that, despite having a directive (from ISIS)to flee during an SDF

advancement in Shafaa, Syria, KHALIFA wanted to stay and fight. KHALIFA went to a local

religious scholar to ask whether he was allowed to disobey ISIS's order to flee. The religious

scholar issued a fatwa^"^ to KHALIFA permitting KHALIFA to stay and fight. KHALIFA

decided to attack an SDF position in Abu Badran, Syria. KHALIFA,armed with three grenades

and an AK-47,threw a grenade on the roof of a house where SDF soldiers were standing. The

grenade detonated and KHALIFA ran into the house and attempted to go to the roof, but an SDF

solider was firing from the stairs. KHALIFA began firing at the SDF soldier and attempted to

use all three of his grenades during the attack. KHALIFA fired all of his ammunition during the

assault and his AK-47jammed. KHALIFA was unable to clear his weapon. As a result,

KHALIFA surrendered to the SDF on or about January 13, 2019. KHALIFA later leamed that

one of his grenades injured SDF soldiers who were on the roof ofthe house he assaulted.




  A fatwa is a ruling on Islamic law by a religious authority.

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                                         CONCLUSION


       47.     Your affiant respectfully submits that the foregoing establishes probable cause for

a criminal complaint charging KHALIFA with conspiring to provide material support and

resources to a foreign terrorist organization (ISIS), resulting in death, knowing that the

organization was a designated terrorist organization, and knowing that the organization had

engaged in and was engaging in terrorist activity, all in violation of Title 18, United States Code,

2339B. Your affiant therefore respectfully asks this court to issue the requested criminal

complaint and arrest warrant for this defendant.

                                                   Respectfully submitted.



                                                   JMhua
                                                     ihua {S. Grace
                                                   Special Agent
                                                   Federal Bureau of Investigation


Subscribed and sworn to in accordance with
Fed. R. Grim. 4.1 by telephone on February 5,2021.
                   Is/
   Michael S^.Naclirp.aQgff, .
UNITED STATES MAGISTRATE JUDGE




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